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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------X
GREGG SINGER, SING FINA CORP.,
and 9TH & 10TH STREET LLC,
                                                                              COMPLAINT
                                   Plaintiffs,
                                                                              JURY TRIAL DEMANDED
                          -against-
                                                                              Case No.: ________________
THE CITY OF NEW YORK, THE NEW YORK CITY
DEPARTMENT OF BUILDINGS, THE GREENWICH
VILLAGE SOCIETY FOR HISTORIC PRESERVATION
and BILL DE BLASIO, ROSIE MENDEZ, CARLINA
RIVERA, ANDREW BERMAN, and AARON SOSNICK, in
their individual and official capacities, and JOHN AND JANE
DOE 1-100, whose identities are unknown at present,

                                    Defendants.
--------------------------------------------------------------------------X

        Plaintiffs, Gregg Singer, Sing Fina Corp., and 9th & 10th Street LLC, by their attorneys,

Gerstman Schwartz & Malito, LLP, complaining of the Defendants The City of New York, The

New York City Department of Buildings, The Greenwich Village Society for Historic

Preservation, Bill de Blasio, Rosie Mendez, Carlina Rivera, Andrew Berman, Aaron Sosnick, and

John and Jane Doe 1-100, set forth and allege as follows:

                                      PRELIMINARY STATEMENT

        1.       “The right to proceed pursuant to a valid building permit, no less than any other

civil right, is not to be lost because others resort to the streets, or because governmental authorities

have improperly placed hurdles barring the appropriate exercise of such right.” Faymor

Development Co., Inc. v. Board of Standards and Appeals of the City of New York, 57 A.D.2d 928

(2d Dep’t 1977). This case is about a fight for such a permit spanning nearly two decades—a

permit that was eventually twice begrudgingly granted and unfortunately twice subsequently

revoked because distractors took to the streets and conspired with governmental authorities to

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improperly place hurdles barring the legal and as-of-right use of a property well-known as “Old

P.S. 64.”

        2.       This is a case of seller’s remorse as much as it is a case about a vindictive political

plot aimed at improperly reclaiming property legally sold by New York City, through a public

auction, to a private entity that is attempting to renovate a long vacant, old elementary school

building into a venerable college student dormitory (“dorm”)—a “community facility use”

permissible under the restrictive deed currently on the property, the New York City Zoning

Resolution, and New York City Department of Buildings Rule 51-01.

        3.       What began as a hunch of impropriety over a decade ago has now turned into a

complex web of emails, letters, conversations, press statements, and other actions that culminate

into a multi-level plan executed over a period of years for one primary purpose: New York City’s

reacquisition of Old P.S. 64. The Giuliani Administration sold the building at auction, and some

elected officials have since decided that they want it back.

        4.       Of course, the difficulty in the City accomplishing this goal is that it no longer owns

Old P.S. 64, and the building is not for sale. So the City, its various elected officials and their staff,

and some third-party locals got creative.

        5.       Maintaining an empty property, especially in New York City, is costly, so the City

erected barriers everywhere it could with the hope that the Plaintiffs would fold under the

pressure—barriers that, upon information and belief, it did not leverage with the same fortitude (if

at all) against other similar projects in the City.

        6.       Some of those barriers included unprecedented delays, inconsistent representations,

blatantly false misrepresentations, and painstaking misinterpretations of both the zoning resolution




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and the Plaintiffs’ submissions to the DOB (followed by numerous outright refusals to meet and

discuss proposed solutions).

       7.       Ultimately, the government, together with its private-party opposition team,

suppressed speech, violated the Equal Protection and Due Process Clauses of the Fourteenth

Amendment, created an unconstitutional condition under the Takings Clause of the Fifth

Amendment, tortiously interfered with the Plaintiffs’ business relations, and perpetuated per se

defamatory remarks about the Plaintiffs.

       8.       In all, the Defendants’ pattern of obstruction has turned a relatively simple zoning

question into a conglomerate of irrationalities—one example of which included an outright

demand that the Department of Buildings act directly against both its own rule and zoning

determinations in order to pacify a local Councilmember, the Mayor, and local special interests in

their pursuit to have the building “returned” to the public.

       9.       If every similar project in New York City had to pass through the same process that

Old P.S. 64 has, very few buildings would ever start being built or renovated (let alone actually

finished).

       10.      As a result of the Defendants’ antics over the years, the Plaintiffs’ civil rights have

been violated, causing significant economic and non-economic damages in the process.

       11.      This case is about vindicating those constitutional and state-law rights while

seeking recovery for violation of the same.




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                                JURISDICTION AND VENUE

        12.    This Court has jurisdiction, pursuant to 28 U.S.C. § 1331, over all claims alleged

herein arising under 42 U.S.C. §§ 1983 and 1988, and the Constitution of the United States. This

Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367.

        13.    Venue properly lies in this Court because it is a judicial district in which the events

and omissions giving rise to the claims alleged herein occurred.

                                            PARTIES

A.      The Plaintiffs

        14.    Plaintiff Gregg Singer (“Singer”) is a member of 9th & 10th Street LLC, which owns

Old P.S. 64, a former public elementary school located at 605 East 9th Street in New York, New

York. Singer resides in New York, New York. Singer is also the President of Plaintiff Sing Fina

Corp.

        15.    Plaintiff Sing Fina Corp. is the Manager of 9th & 10th Street LLC. Sing Fina Corp

is a domestic business corporation operating under the laws of New York. It has a principal place

of business in New York County.

        16.    Plaintiff 9th & 10th Street LLC is a domestic limited liability company operating

under the laws of New York. It maintains a principal place of business in New York County. It

owns Old P.S. 64, which is located at 605 East 9th Street in New York, New York.

B.      The Defendants

        17.    Defendant City of New York is a municipal corporation and a political subdivision

of the State of New York.

        18.    Defendant New York City Department of Buildings (“DOB”) is an agency

operating under New York City and State laws.



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       19.     Defendant Greenwich Village Society for Historic Preservation, Inc. (“GVSHP”)

is a domestic not-for-profit corporation incorporated under the laws of the New York. It maintains

a principal place of business in New York County.

       20.     Defendant Bill de Blasio (“De Blasio”) is the current Mayor of New York City and

has held this position since January 1, 2014.

       21.     Defendant Rosie Mendez (“Mendez” or “Councilwoman Mendez”) is a former

member of the New York City Council and represented District 2, which includes the area where

Old P.S. 64 is located. Mendez was replaced by Defendant Carlina Rivera in January 2018.

       22.     Defendant Carlina Rivera (“Rivera” or “Councilmember Rivera”) is the former

Legislative Director for Councilwoman Mendez and the current New York City Councilmember

for District 2. She assumed this role in January 2018.

       23.     Defendant Andrew Berman (“Berman”) is the Executive Director of GVSHP and,

upon information and belief, has served in that capacity since 2002.

       24.     Defendant Aaron Sosnick (“Sosnick”) is a well-known billionaire supporter of

GVSHP and a director of the East Village Community Coalition. Upon information and belief, he

has played a key role in facilitating the misrepresentation of the facts and circumstances serving

as the basis of this action. Upon information and belief, Sosnick resides at the Christodora House

condo tower located at 143 Avenue B, which is adjacent to Old P.S. 64. He strongly opposes Old

P.S. 64’s historic adaptive reuse renovation into a dorm.

       25.     Defendants JOHN and JANE DOE 1-100 are either unknown at present or Plaintiffs

do not yet have sufficient information to properly plead a cause of action against them, but upon

information and belief, they are employees, agents, or associates of the Defendants that witnessed,

concealed, facilitated, or otherwise participated in the acts to which Plaintiffs were subjected, and



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as such, Plaintiffs reserve the right to amend the instant pleading to include the identities of such

persons, when and if such identities become known, within the appropriate limitations period.

                                              FACTS

A.     The Necessary Context

       The Early Years

       26.     Old P.S. 64 used to be a New York City public elementary school from 1907 until

1977, which is when the school closed due to lacking attendance. On or about 1984, a tenant known

as El Bohio Public Development Corporation leased the building from New York City, and, in

violation of the lease, illegally rented out rooms, in addition to permitting the unfortunate growth

of criminal activity.

       27.     On July 20, 1998, the City sold the property through public action to Plaintiff 9th &

10th Street LLC, the current owner, of which Plaintiff Singer is a member and President of its

Manager.

       28.     Title passed on July 21, 1999, with the following deed restriction encumbering the

property: “Use and development of this subject property is restricted and limited to a ‘Community

Facility Use’ as such use is defined in the New York City Zoning Resolution as existing on the

date of the auction.”

       29.     Due to the lease expiration and illegal sublease, El Bohio and its illegal subtenants

were evicted on December 27, 2001.

       30.     Between 1999 and 2005, Plaintiff Singer contacted 1,200 or so non-profit

organizations, schools, and local neighborhood, New York City and State community groups to

see if they were interested in leasing space in Old P.S. 64. Voicing concerns of mounting pressure

from then-Councilwoman Margarita Lopez, who upon information and belief had threatened their



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government funding, none of the groups followed through on leasing space in Old P.S. 64, so

Singer decided to change direction and convert the building into a much needed college student

dormitory (“dorm”)—a Community Facility Use expressly permitted under the Use Group 3

section of the New York City Zoning Resolution (“ZR” or “Zoning Resolution”) and the deed

restriction.

        31.    When the property was sold at auction it included approximately 100,000 square

feet of additional development rights. Although a 30 story dorm tower could have been permissibly

built at the time, and Singer wished to build a 27 story dorm, Singer agreed—at the request of the

New York City Landmarks Preservation Commission (LPC)—to save the Old P.S. 64 façade and

front half of the building and construct a much less imposing 19 story dorm, which would comply

with the deed restriction and the Zoning Resolution section concerning a Use Group 3 “College or

School Student Dormitory.”

        32.    With the LPC on board, Plaintiff filed for building permits with the DOB in the fall

of 2004.

        The Board of Standards and Appeals—The 19-Story Proposal

        33.    On November 29, 2004, the DOB issued six objections, one of which ended up

before the Board of Standards and Appeals (BSA) in the spring of 2005. The final determination

at issue in that case was the Department’s denial to remove an objection to plans submitted with a

building permit application to develop the building with a Use Group 3 “College or School Student

Dormitory” absent the submission of additional information—namely, documentation that

substantiated the student dormitory use: “Without a deed or lease with an educational institution,

the Department [would not be satisfied] that a dormitory use [was] being established.” Exhibit 1.




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       34.     The specific objection in question—Objection #4—stated the following:

“Substantiate dormitory use (UG3). This use is permitted for ‘College or School Student’ Housing

only as per Z.R. (Floors 3-19 indicates res. apartments layout).” Id.

       35.     At this time, the Department was hunting for an “institutional nexus” between the

proposed dormitory and an educational institution, claiming that without this institutional nexus

the Plaintiffs could claim the special benefits of building a dorm with the real intention of using

the property for residencies.

       36.     Plaintiffs explained by letter dated March 1, 2005, that such a switch in course

would violate the deed restriction on the property, which required the building be a “Community

Facility Use,” not residential. In the same letter, Plaintiffs argued that the DOB did not have the

power to layer additional requirements on applicants to show such an institutional nexus.

       37.     Even if an institutional nexus were required, Plaintiffs believed the requirement

was met by a long-term lease of the dormitory to a non-profit entity that would be controlled by

educational institutions whose students would license the rights to use the dorm rooms—a model

that, upon information and belief, has been implemented successfully throughout the country.

       38.     While the Plaintiffs had a lease with such a non-profit entity (University House

Corp.) chartered for the benefit of participating educational institutions, the Department found this

to be insufficient to satisfy its required (albeit unwritten) institutional nexus requirement.

       39.     The issue went before the BSA, which sided with the DOB. It held that “an

appropriate showing of conformance, through plans and related application materials, with the use

regulations that trigger the applicable FAR regulations is an indisputable part of the DOB’s

Buildings Code-mandated review of permit applications when a CF use is proposed,” and for this

reason the DOB’s “refusal to lift the Objection for failure to submit documentary evidence of



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institutional control over the Proposed Dormitory, as set forth in the Final Determination, is an

appropriate exercise of its authority.” Exhibit 1.

         40.      Interestingly, during the pendency of the BSA proceeding, and two days after

Plaintiffs’ letter responding and questioning the DOB’s authority to layer new unwritten

requirements on building permit applications, the DOB issued a proposed rule on March 3, 2005,

which later became 1 RCNY § 51-01 (“Rule 51” or “Dorm Rule”) on March 16, 2005.

         The Infamous “Dorm Rule”

         41.      As outlined in the Statement of Basis and Purpose, Section 51-01 was created “to

give meaning to the phrase ‘student dormitory’ separate and distinct from other residential uses

and is intended to codify the Department’s current practice of requiring a ‘dormitory’ to have an

institutional nexus to a school(s).” Exhibit 2.

         42.      Upon information and belief, Section 51-01 was created specifically in response to

an older version of the Plaintiffs’ dorm proposal (the 19 story proposal).

         43.      The DOB maintains Section 51-01 provides the criteria one must satisfy in order to

build a student dormitory that qualifies as a Community Facility Use (UG3) under the Zoning

Resolution.1

         44.      “A student dormitory is a building or part of a building that is (1) operated by, or

on behalf of” a qualified educational institution “to house students enrolled at such institution(s).”

1 RCNY § 51-01. Before a building permit will be issued, a restrictive declaration stating that the



1
 Plaintiff 9th & 10th Street LLC recently filed a declaratory judgment action in New York State Supreme Court, New
York County, asking the Court to determine whether Rule 51 applies to the current version of its project. The
Department enacted Rule 51 at the time of Plaintiff’s 19-story proposal, which would have involved a zoning bonus
applicable to Community Facility Uses. The Rule was apparently meant to regulate such dorm projects. However, Old
P.S. 64 has since been landmarked, and the relevant zoning district has been downzoned, making it impossible for
Plaintiffs to gain any zoning bonus for building a Community Facility Use. Therefore, Plaintiffs question whether
Rule 51 still applies to their property. Even if it does, Plaintiffs believe they complied with its requirements. See 9th &
10th Street LLC v. The City of New York et al., Index No. 161272/2017 (N.Y. Sup. Ct. 2017).

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facility shall only be used as student dormitory must be recorded, and a “proof of ownership or

control” requirement must be met. There are three specifically enumerated ways to demonstrate

“ownership or control,” one of which includes providing “[c]opies of a lease of the building or part

of the building for a minimum ten year term” by a qualified educational institution. § 51-01.

       The Landmarking of Old P.S. 64

       45.     After mounting political pressure, the LPC announced on April 28, 2006, a hearing

date to consider landmarking Old P.S. 64.

       46.     On June 20, 2006, the LPC voted to landmark Old P.S. 64.

       47.     As a result, the Plaintiffs could not (and still cannot) build a 19-story dormitory;

rather, Plaintiffs must work within the boundaries of Old P.S. 64’s five floors.

       Proceeding to Court: Challenging the BSA Decision

       48.     Meanwhile, following the loss at the BSA, 9th & 10th Street commenced an Article

78 proceeding to challenge the BSA’s determination.

       49.     The New York Supreme Court decided that the Board’s reasoning was not arbitrary

or capricious because the “DOB had a rational basis for refusing to grant a premises permit to build

a dormitory without adequate proof of an institutional nexus between the proposed dormitory and

a known school (or schools), or a non-profit entity representing such school (or schools).” 9th &

10th Street LLC v. Board of Standards and Appeals of the City of New York, 12 Misc.3d 1183(A),

at *8 (N.Y. Sup. Ct. 2006), aff’d, 10 N.Y.3d 264 (N.Y. 2008). In the Court’s eyes, “there would

be no practical way to distinguish between a UG3 ‘community facility’ and a UG2 residence”

without the additional institutional nexus requirement implemented by the Department Id. at 5.

       50.     The First Department reversed, holding that the BSA’s “anticipatory punishment”

of assuming the Plaintiffs will use the building in an illegal manner in the future was arbitrary and



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capricious. See id. at 41-44. In so holding, the Court reasoned that the BSA’s “remedy for any

attempt to use the building for an impermissible purpose is either denial or revocation of the

certificate of occupancy.” Id. at 42.

       51.        On appeal, the Court of Appeals reversed. The Court drew a line between the “mere

possibility of a future illegal use,” which would not justify withholding a permit, and where

“officials reasonably fear that the legal use proposed for a building will prove impracticable,”

which would justify “insist[ence] on a showing that the applicant can actually do what it says it

will do.” 9th & 10th Street L.L.C. v. Board of Standards and Appeals of the City of New York, 10

N.Y.3d 264, 269-70 (N.Y. 2008) (emphasis added). The Court explained that “the Department of

Buildings doubted that a dormitory use would ever be possible, and asked for assurances—in the

form of a connection with an educational institution—that it would be.” Id. at 269-70 (emphasis

added). The Court rationalized that to avoid “fac[ing] a choice between waiving the legal

restrictions [after the building is already built] and requiring the building to remain vacant or be

torn down,” the Department’s “seek[ing of] such assurances seems no more than prudent.” Id. at

270.

B.     The Initial Leases & Stop Work Order

       Cooper Union & Joffrey Ballet

       52.        On December 7, 2012, Plaintiff 9th & 10th Street entered into a 15 year lease with

The Cooper Union for the Advancement of Science and Art (“Cooper Union”) for the second floor

of Old P.S. 64.

       53.        On February 22, 2013, a lease amendment was executed whereby Cooper Union

would lease the third floor of Old P.S. 64 as well.




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       54.     Cooper Union is a qualified post-secondary educational institution authorized to

grant a degree by the Regents of the University of the State of New York and therefore satisfies

the educational institution requirement of Section 51-01.

       55.     The lease with Cooper Union operated in a two-part structure. First, Cooper Union

would lease the entire second and third floor of the building, which covered ninety eight beds per

floor (196 beds total). Second, Cooper Union would then license the dorm beds to its students.

       56.     This two-part structure created two different kinds of rent to be collected for 9th &

10th Street as the landlord. A “minimum rent” was designated as a fixed amount to be paid per year

based on the total number of beds (ninety eight per floor). An additional “student rent” to be paid

per month per bed was then to be collected based on the number of beds were licensed to students

by Cooper Union.

       57.     The purpose of this two-part breakdown whereby the entire second and third floor

were leased to Cooper Union and then the beds licensed to Cooper Union’s students was created

to satisfy Rule 51, and upon information and belief, is the typical structure used for college student

dormitories in New York City—the college or university leases or owns the premises and licenses

the beds to their students.

       58.     An application for a building permit (later issued on August 22, 2014) permitting

Plaintiffs to renovate Old P.S.64 into a dorm was filed in February of 2013.

       59.     All was well until April 30, 2013, when Councilwoman Mendez wrote to the DOB.

The letter contained some generalized objections and asked the DOB to “review this application

with precise scrutiny to make sure that the contractual ‘lease agreement’ meets all of the provisions

of the Dorm Rule, including the recording of a Restrictive Deed.” Exhibit 3. She further requested

that “the DOB refrain from approving this application until such time that the owner can



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demonstrate enforceable leases and Restrictive Declarations for all 500 rooms, as the Dorm Rule

requires.” Id.2

         60.      On May 3, 2013, The Joffrey Ballet Center, Inc. (“Joffrey”), entered the mix when

a lease was signed for the ground and first floors of Old P.S. 64.

         61.      Although Joffrey did not fall under Section 51-01, it fell under a different section

of the Zoning Resolution, which considered a “non-profit institution with sleeping

accommodations” to be a permissible UG3 use.

         62.      The Joffrey lease was structured the same way as the Cooper Union lease

agreements, except that it was for a period of ten years (as opposed to 15) and included 132 beds

(as opposed to 196).

         63.      From the very beginning, then-Councilwoman Mendez began threatening to

undermine the leases with Joffrey and Cooper Union. For example, Mendez was quoted saying “I

truly believe that [Cooper Union] President Jamshed Bharucha was not given a complete history

of the building when he signed on to this. Cooper is now in an untenable situation with the

community, because they were not given all of the facts….I told him I’m not happy with this dorm

plan, the community is not happy….There will be protests, and I will be joining in when that

happens.”3




2
 Plaintiffs maintain now, as they did then, that Rule 51 has no such requirement. Plaintiffs believe the Rule does not
apply to the current proposed use of Old P.S. 64. But even if it did, the express terms of the Rule state precisely the
opposite: the Rule is satisfied when a lease for a portion of the building is submitted. See 1 RCNY § 51-01.
3
 Sarah Ferguson, Scaled-Down Dorm Pitched for Embattled CHARAS Site, THE VILLAGER (April 25, 2013),
http://thevillager.com/2013/04/25/scaled-down-dorm-pitched-for-embattled-charas-site/.


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           64.      Demolition permits were issued in March of 2013, and demolition work began on

floors 4 and 5 in preparation of converting Old P.S. 64 into a dorm. Demolition work continued

through July of 2013 on floors 1 and 3 as well.4

           65.      Much to Councilwoman Mendez’s chagrin, on August 22, 2014, the DOB issued

work permits for Job # 121329801, which allowed for the conversion of Old P.S. 64 into a dorm

(the “2014 Permit”). See Exhibit 4.

           66.      Noticing the issuance of work permits, a furious Councilmember Mendez—

scolding the DOB for its non-responsiveness—leaned on the DOB again; she wrote another letter

on September 3, 2014. In this letter, she made the following arguments regarding Cooper Union,

which were reiterations of her previously sent letters:

                    -    She claimed an “institutional nexus” does not exist. But “[e]ven if it does

                         exist,…this nexus is not continuous because Cooper Union is not entitled to use

                         and occupy the premises from June 1 to August 31 each year.”5

                    -    She claimed that the “language of the lease was more analogous to a license

                         agreement rather than a lease[.]”6

                    -    She claimed “Cooper Union authorizes 9th & 10th Street LLC to subordinate

                         their rights as tenants, meaning that the management company could revoke the

                         rights created within the terms of the lease[.]”7 Exhibit 5.




4
    The second and basement floors were demolished in December of 2009 and February 2010, respectively.

5
  This misstates the substantive portions of the Cooper Union lease. Although Cooper Union did not have summer
classes and was not interested in having their students renting beds during that time, Cooper Union still remained a
tenant over this time period.
6
    This observation misstated the leasing and renting provisions in the lease.
7
    This observation also misstated the leasing and renting provisions of the lease.

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       67.     Importantly, at this juncture, the DOB must have known that the Plaintiffs were

planning on constructing a dorm, and it had significant time—over a year—to question Plaintiffs’

project. The agency had received the building permit application for the 2014 Permit in February

of 2013. The permits issued for demolition work to be completed in anticipation of the 2014

Permit’s issuance were granted, and demolition had indeed taken place between May 2013 and

July 2013. Then, about a year later, the 2014 Permit was issued for the purpose of renovating Old

P.S. 64 in August of 2014. The project was proceeding and the DOB did not seem to have any

qualms.

       68.     But, in a surprising about-face, the DOB backpedaled and issued a stop work order

using the very arguments propounded by the Councilwoman on a Job that had only been issued a

work permit just a few weeks before, with initial prefatory steps having taken place as described

above at least one year prior.

       69.     On the same day that the stop work order was issued, the DOB, bending to the

Councilmember’s will, penned a letter to the Councilwoman to notify her that the “Department

has examined your letter and has issued the enclosed 15 day letter with Stop Work Order and

objection sheet.” Exhibit 6. In the letter to Councilwoman Mendez, the DOB does not actually

state that her arguments were valid; it merely notes that it is responding to the Councilwoman’s

discussion of “potential problems with a construction permit[.]” Id.

       70.     Although it required nearly a year, the Plaintiffs clarified the misunderstandings

noted by the DOB, and all of the objections were resolved on June 17, 2015.

       71.     Specifically, Objection 2 maintained that the Cooper Union lease failed to comply

with Section 51-01 “in that section 2.6 of the Cooper Union lease says that any beds not rented by


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Cooper Union (not in the summer period) may ‘be rented by Landlord to any other School and

Tenant will not be responsible for such beds.”’ Exhibit 7.

       72.     Objection 2 was cured by the Plaintiffs’ deleting the prior language in section 2.6

of the lease and replacing it in relevant part with the following: “Tenant agrees that any of Tenant’s

beds that are not licensed by Tenant to Tenant’s students shall only be licensed by Tenant to

institutions that (a) qualify under 1 RCNY 51-01 and (b) lease and occupy space in the Building.

By already occupying space in the building as a qualified ‘dormitory,’ Tenant’s licensing of beds

to those institutions meets the requirements set forth in 1 RCNY 51-01.” Exhibit 8.

       73.     New work permits were issued on July 13, 2015 (“2015 Permits”). Exhibit 9.

       74.     Importantly, the DOB issued the 2015 Permits without first requiring the Plaintiffs

to submit an updated lease with the newly approved lease language.

       75.     A few weeks later, on July 31, 2015, new objections were issued demanding that

“revised executed lease(s) shall be submitted to the department as a prerequisite for permit

issuance.” Exhibit 10. But the original objections regarding the actual structure of the leasing and

licensing provisions remained resolved and therefore acceptable to the DOB. The 2015 Permits

were also still in place at the time, even though an updated lease had yet to be submitted.

       76.     On August 4, 2015, a stop work order was issued.

       77.     On October 21, 2015, the DOB issued a letter indicating its intent to revoke the

2015 Permits based in part on the still-missing updated lease with Cooper Union.

       78.     Months later, on March 2, 2016, the DOB did in fact revoke the permits.




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       79.     Upon information and belief, facing mounting pressure from Councilwoman

Mendez, the City, and other Defendants, on July 12, 2016, Cooper Union terminated the lease

instead of executing a new lease containing the language approved by the DOB in connection with

the work permits.

       80.     Upon information and belief, and based on an email interaction discovered through

a Freedom of Information Law request, Councilmember Mendez had “many…conversations…via

telephone and does not recall anything in writing” with Cooper Union for the purpose of

convincing the school to terminate the lease with 9th & 10th Street. Exhibit 11.

C.     Period Between Leases: Discovering All the Requirements

       The Zoning Determinations

       81.     From 2015 until August 2016, the Plaintiffs worked with the DOB to determine all

of the unwritten requirements involved with 1 RCNY § 51-01. During this time period, three

Zoning Resolution Determinations (ZRD-1) were issued.

       82.     A Zoning Resolution Determination (ZRD-1) is a request for a binding

interpretation or clarification of the Zoning Resolution.

       83.     On June 19, 2015, the Plaintiffs sought a determination concerning whether a

portion of the student dormitory could also be occupied and used during summer months by non-

matriculated students and student interns.

       84.     The DOB determined that “making the dormitory space available to non-

matriculated students and student interns in those months outside of the normal school year is in

keeping with the mission of an educational institution.” Exhibit 12.

       85.     On May 26, 2016, the Plaintiffs requested that the DOB “concur with the

interpretation that proof of a qualified lease agreement for a portion of the building is sufficient to



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allow the issuance of a Permit for the entire building (within the existing Building envelope) in

compliance with 1 RCNY 51-01.” Exhibit 13.

       86.     The DOB agreed with the Plaintiffs’ interpretation.

       87.     The May 26, 2016, determination confirmed what the Plaintiffs could infer from a

previous zoning determination made three years earlier. On August 8, 2013, the Plaintiffs

submitted their leases with both Joffrey and Cooper Union requesting permission to show floors

four and five as “vacant/no occupancy in the schedule A” “[w]hile the owner secures lease(s) for

the remaining portions of the building.” Exhibit 14. The question was whether the DOB would

issue permits per Section 51-01 even though parts of the building would be vacant.

       88.     The DOB approved the Plaintiffs’ interpretations with conditions, holding that

showing the fourth and fifth floors as “vacant/no occupancy in the Schedule A” would be allowed,

but a Temporary Certificate of Occupancy would be issued with an expiration of 60 days,

renewable only upon resubmission to the borough commissioner, and a final Certificate of

Occupancy would be issued only when the fourth and fifth floors are no longer vacant. Exhibit 14.

       89.     On August 4, 2016, the Plaintiffs sought a determination confirming that a lease

between 9th & 10th Street and an educational institution that permits the educational institution to

license the beds in the leased premises complies with Rule 51.

       90.     The DOB agreed that “Tenant may designate Landlord or Landlord’s agent, to act,

during the school year, as its agent to license beds to the institutions that (a) qualify under 1 RCNY

§ 51-01 and (b) lease and occupy space in the building for sub-license to that institution’s students

and, (2) Tenant m[a]y designate Landlord or Landlord’s agent, during the summer months, to act

as its agent to license beds for the summer term to student interns, non-matriculated students and

to Tenant’s matriculated students, if any.” Exhibit 15.



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        The Troops Rally & The Mayor Leans In

        91.     Meanwhile, all was not well with the opposition.

        92.     Once the Zoning Determinations were issued, Defendant Andrew Berman, through

Defendant GVSHP, unleashed a frantic barrage of emails to rally the troops.

        93.     On June 29, 2016, Berman wrote an email to the elected officials, including

Councilwoman Mendez and representatives from the Manhattan Borough President’s Office,

stating in pertinent part:

        “If you have not seen it already, please find attached the recently issued DOB
        determination re: old PS 64. It appears they are going to issue permits for even the
        unleased portions of the building, allowing work to resume, and possibly allow
        TCO’s for the unleased portions as well….It’s imperative that DOB hear from the
        two offices quickly about this, before we are in an irreversible situation. Would a
        joint letter from Rosie and Gale to DOB ASAP be possible? Please let us know
        anything we can do to help.” Exhibit 16.

        94.     Somewhere during the process, Defendant de Blasio’s office became involved as

well.

        95.     Upon information and belief, following an off-line discussion with the Mayor’s

Office of Legislative Affairs (“OLA”), Matthew Viggiano, who worked for Councilwoman

Mendez at the time, reported back to Defendant Berman and the rest of the group (including

Defendants then-Councilwoman Mendez and Councilmember Rivera) with the following message

(quoted in pertinent part):

        “By way of an update, we met with the Mayor’s Office of Legislative Affairs on
        July 12th. We discussed ongoing problems with regard to DOB’s lack of response
        to our letters and our concerns with the documents you shared with us as well as
        the continued potential occupancy of organizations that constitute non-conforming
        uses. While we didn’t get into philosophical argument about should or shouldn’t a
        permit be issued for an entire floor if there is a lessee that will only occupying a
        portion, the Office of Legislative Affairs did agree that there are issues and that
        they will direct the DOB to look more closely at the issues we presented. To that
        end, the DOB will not be issuing any permits for 605 East 9th Street until a
        comprehensive review of the issues we presented are undertaken. We have been

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       assured of that by the Mayor’s Office Legislative Affairs….I believe we can trust
       that a thorough review will be taking place and we will check in with them in
       another week to see where that review is, however, in the meantime nothing will
       be moving forward with regard to the issuing of permits for CHARAS.” Exhibit 17.

       96.      Upon information and belief, based in part on the quoted language above in addition

to what would soon follow, an agreement formed among Defendants, with then-Councilmember

Mendez’s office acting as an intermediary, that regardless of the DOB’s ZRD-1 interpretation of

its own Zoning Resolution, the Mayor’s OLA had determined that no progress would be made on

the property.

       97.      Furthermore, upon information and belief, the Mayor’s directive to the DOB to halt

progress on Old P.S. 64 was so superficial it did not even require a “philosophical” discussion of

whether a permit should be issued for an entire building when the lease covers a portion of the

building.

       98.      In other words, upon information and belief, the Mayor’s office was willing to see

to it that the Old P.S. 64 project would be stalled without even addressing key issues central to the

entire zoning dispute.

       99.      After all, the group’s goal was admittedly to leverage the political force of elected

officials rather than seeking to follow a more traditional and transparent legal avenue established

by law. Defendant Sosnick, a billionaire neighbor and chief pot-stirrer on the Old P.S. 64

opposition team, explained: “EVCC can have attorneys look into challenging this absurd DOB

determination, but it would be much stronger knowing the DOB’s reasoning and having the

challenge come from the Council office.” Exhibit 18.

       100.     From the Plaintiffs’ perspective, it is much more difficult to oppose something one

cannot see, so the Defendants’ admittedly backroom meetings, promises, agreements, and




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understandings would indeed be “stronger” than a more transparent approach conducted through

established legal—and openly/readily public—mechanisms.

D.     The Adelphi Lease

       The Extensive Delays

       101.    On August 2, 2016, 9th & 10th Street entered into a lease for the second and third

floors of Old P.S. 64 with Adelphi University (“Adelphi”).

       102.    Just one week later, on August 11, 2016, Plaintiff submitted the executed lease to

the DOB.

       103.    Since that time, the Adelphi lease was submitted numerous times to various people,

in various departments, at the DOB.

       104.     Upon information and belief, OLA’s promise to impede the Old P.S. 64 permitting

process came true.

       105.    After 8 months passed, the DOB had yet to respond to the submitted lease, so

Plaintiff Singer wrote an email to DOB Commissioner Chandler inquiring as to the status of the

lease-review process on April 6, 2017.

       106.    Upon information and belief, taking 8 months to review a lease is an unusual and

unprecedented occurrence at the DOB. (Plaintiffs are aware of at least one instance where a 10

year lease for a UG3 school dormitory was reviewed within a matter of a few days. See 81 East

Third Street Realty LLC, BSA Index No. 155-05-A (April 25, 2006) (mentioning that the applicant

submitted a 10 year lease and restrictive declaration for a school dormitory, which led to approval

and permits being issued within 3 days)).

       107.    Days after Plaintiff Singer’s follow-up, on April 20, 2017, the DOB finally made a

decision as to the lease, and unfortunately, issued three objections. Exhibit 19.



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       108.    All three objections dealt with an alleged failure to satisfy the Dorm Rule in one

way or another.

       109.    After numerous attempts to propose lease amendment language to address the

objections, on May 9, 2017, the Plaintiffs’, through their counsel, formally responded to each

objection by letter, enclosing an executed Lease Modification Agreement, dated May 8, 2017,

designed to cure the issues presented by the DOB.

       110.    A meeting was then scheduled to take place on May 17, 2017, between Deputy

Commissioner Bruno and the Plaintiffs to address the objections in light of the May 8, 2017, Lease

Modification Agreement.

       111.    Two days before the scheduled meeting, the DOB was made aware by email that

“[Adelphi] University has the right of terminating [the lease] in the event that the construction is

not reinstated by June 1, 2017.” Exhibit 20.

       112.    The day before the meeting was scheduled to take place, the DOB cancelled the

appointment.

       113.    And just over an hour before the cancellation notification was delivered, Plaintiff

Singer wrote an email to the Deputy Commissioner and the others who were going to be present

at the meeting in order to streamline the meeting by highlighting relevant documents, emphasizing

the urgency of the project given Adelphi’s August 2018 deadline.

       114.    On May 17, 2017—the day the cancelled meeting would have taken place, the DOB

delivered a final determination doubling down on the April 20, 2017, objections.

       115.    A few days later, on May 25, 2017, Plaintiff Singer wrote to Mona Sehgal, General

Counsel for the DOB, requesting a meeting and emphasizing a willingness to work with the DOB

in order to secure permits for Old P.S. 64: “Adelphi and ownership is prepared to fully cooperate



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with the building department so the building permits can be issued and the project can move

forward.” Exhibit 21.

       116.    Following the DOB’s failure to reschedule the meeting it cancelled, Plaintiffs’

counsel wrote Commissioner Chandler a letter dated July 31, 2017, addressing all of the standing

objections and including an executed Second Lease Modification Agreement dated June 22, 2017,

for the DOB’s review.

       117.    Reading the original lease in conjunction with its two subsequent modification

agreements, the final lease is structured similar to the aforementioned former lease with Cooper

Union, which contained a two-part leasing/licensing structure.

       118.    Under the Adelphi lease, Adelphi and 9th & 10th Street created a landlord-tenant

relationship whereby Adelphi was given exclusive control of the second and third floors of Old

P.S. 64 for a non-revocable term of 10 years.

       119.     Separate and apart from Adelphi leasing the entire second and third floor is the

issue of licensing the beds to students. The licensing procedure is built into the lease’s three tiered

rent system. First, Adelphi leases the entire second and third floors of Old P.S. 64 for a minimum

rent of a fixed amount. Second, Adelphi then licenses the beds on its second and third floors to its

students for a rent specified in the lease. Third, once Adelphi recoups the minimum rent amount it

paid to 9th & 10th Street as the owner from the beds it licensed to its students, then any rent above

and beyond that minimum amount goes to 9th & 10th Street as additional rent. Furthermore, if any

of the beds on Adelphi’s second or third floor remain unused, those beds will be licensed to other

qualifying educational institutions by Adelphi through its designated agent (9th & 10th Street) as

defined under the lease.




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        120.    Despite the similarities of the Cooper Union lease, the language of which was

ultimately approved and objection-free, the DOB again issued a final determination on August 22,

2017, refusing to lift all of its April 20, 2017, objections.

        121.    Specifically, two objections remain. First, the DOB believes that Adelphi’s lease

fails to satisfy Section 51-01’s proof of ownership or control requirement because it believes the

Adelphi lease only gives an option to lease beds in any given year rather than a current leasehold

obligation for the beds. Second, the DOB maintains that the educational use at Adelphi’s 75 Varick

Street location is not clearly documented as a “College or University.”

        122.    The first objection is meritless because Adelphi leased two floors for 10 years and

would license the beds to its students or another college or university in compliance with Section

51-01 and the May 26, 2016, ZRD-1 determination.

        123.    The second objection is irrelevant because 75 Varick Street does not concern

Plaintiffs’ property at Old P.S. 64, and the objection focused on the wrong floor of the building;

Adelphi is located on the second floor, not the 13th floor, which was the target of the objection.

        124.    The Plaintiffs appealed the August 22, 2017, final determination to the New York

City Board of Standards and Appeals on September 21, 2017, seeking the following relief from

the BSA: (1) the granting of applicant’s appeal as to the items requested, (2) the reversal of the

August 22, 2017, final determination, (3) the interpretation of 1 RCNY § 51-01’s proof of

ownership or control requirement to be satisfied by the lease between Adelphi and 9th & 10th Street,

(4) the lifting of the stop work order currently on the project, and (5) the issuance of building

permits for the entire building to be converted into a college student dormitory.




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       Explaining the Delays—The Obstructionists Keep Revving Political Engines

       125.    Before Adelphi signed a lease in August 2016, the Defendant Berman coordinated

a plan with the others:

       “We’re glad to hear that the Mayor’s office is saying nothing is going to be moving
       too soon on this, and no approvals are imminent….[W]e’d like to keep pushing on
       this determination and hopefully getting it overturned, before irreversible harm
       comes from it. As this has broader implications, perhaps it would make sense to
       include other elected officials in this who might also be concerned about this—
       whether the BP or other local elected? Please let us know your thoughts about
       proceeding—we’d be happy to draft a letter to the DOB and the Mayor about this
       if that would be useful.” Exhibit 22.

       126.    The plan came to fruition in the form of an October 3, 2016, letter to the DOB from

Councilwoman Mendez and numerous other elected officials, including Manhattan Borough

President Gale Brewer.

       127.    In a perplexing and internally inconsistent request, the elected officials asked that

the DOB “rescind” the recent Zoning Resolution Determination that would permit the issuance of

building permits for an entire building when a portion of the building is leased.

       128.    The elected officials unabashedly justified their request by openly acknowledging

that their demand would require the DOB to act directly against the express words of its own Rule:

       “We understand that the Dormitory Rule contains specific language allowing for
       ‘part of a building’ to meet the definition of a ‘student dormitory,’ as DOB
       highlighted in its determination. However, we believe that allowing renovations to
       commence throughout an entire building because a small portion of it is leased to
       an appropriate party will create an avenue through which developers can exploit
       the Dormitory Rule in [a] manner inconsistent with its purpose.” Exhibit 23.

       129.    After waiting approximately one month, Defendant Berman began to complain:

       “It’s now been more than half a year since the Department of buildings first issued
       its ruling. I don’t want to wake up one day and find the Department of buildings
       has issued permits for the dorm at the old PS 64 based upon this faulty ruling, which
       we all know no matter what DOB has told you, they are capable of doing at any
       moment. Of course once those permits are issued, will be so much harder to get



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       them rescinded, and this really has implications that go far beyond old PS 64.”
       Exhibit 24.

       130.    Then Defendant Berman discovered that Adelphi had signed a lease with the

Plaintiffs, and he swiftly wrote to the Councilwoman’s staff to remind them of the “understanding”

in place amongst the bunch concerning the stoppage of any inkling of progress emanating from

Old P.S. 64 project:

       “I just saw that Adelphi University now seems to be part of the mix for the “dorm”
       plan for the building….This is deeply concerning, especially since we were under
       the understanding that nothing about the plan was going to change or happen while
       the elected were in conversation with DOB and the City.” Exhibit 25.

       131.    Just days later, Defendant Berman cracked the whip again: “As per these meetings

and discussions [we have had], we therefore believe it is critical that the elected officials reach out

to the Mayor immediately about this, as was agreed....Assurances from the Mayor’s Office of

Legislative Affairs aside, we are very concerned that with this ruling in place, DOB might issue

permits for 605 East 9th Street at any moment….” Exhibit 26.

       132.    Upon     information    and    belief,   based   on   these   interactions,   whatever

“understanding” or “[a]ssurances” were in place, the opposition parties involved were under the

impression that their concerted political pressure plan would ward off any potential suitors looking

to lease the building in addition to stalling progress in the DOB. See Exhibit 26.

       133.    Upon information and belief, the opposition team of Defendants was so confident

in the power of this “understanding” that they were apparently taken by surprise when Adelphi

came on board.




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           Adelphi Terminates the Lease

           134.       Upon information and belief, since at least December 2016, just months after

Adelphi’s involvement in the Old P.S. 64 project, Defendants have been attempting to leverage

the same strategy used to pressure Cooper Union to drop its lease against Adelphi as well.

           135.       In an email exchange between the Defendants (and others), Defendant Rivera, the

heir to then-Councilmember Mendez’s seat, states:

           “I have not found a letter from [Councilwoman] Rosie [Mendez] to Cooper Union.
           She confirmed with me that many of these conversations happened via telephone
           and does not recall anything in writing. Should you find the correspondence you
           mentioned with the language you want to use to write to Adelphi please forward it
           to me.” Exhibit 11.

           136.       On October 11, 2017, despite enjoying significant community support,8 Adelphi

terminated its lease with 9th & 10th Street.

           137.       Upon information and belief, Adelphi terminated its lease with Plaintiffs as a direct

and proximate result of the Defendants’ aforementioned actions.

           DOB: On Second Thought, “I Do Not Feel That a Meeting is Warranted at this Time”9

           138.       On September 10, 2017, Singer happened to run into Mayor de Blasio in Tompkins

Square Park, where he attempted to explain that Plaintiffs had complied with Rule 51. He followed

up via letter dated September 14, 2017, which prompted a referral to and a reply letter from the

Department dated October 23, 2017. See Exhibit 28.

           139.       In the October 23 letter, the Department offered “an appointment,” presumably to

discuss the DOB’s pending objections on the project. See Exhibit 29.




8
 A petition conducted by members of the community in 2017 gathered over 900 signatures in support of Plaintiffs’
Adelphi dorm project. See History of Old PS 64 (last visited Dec. 20, 2017), http://oldps64.com/.
9
    See Exhibit 27.

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        140.     By the time October 23 rolled around, Adelphi had already terminated its lease with

Plaintiffs, but Singer was eager to accept the offer to meet, especially since prior attempts to

schedule a face-to-face meeting had been cancelled and never rescheduled by the Department.

        141.     This was an opportunity to discuss what the Department would require in

satisfaction of Rule 51 moving forward.

        142.     To Plaintiffs’ dismay, the Department—in yet another about-face—recanted its

offer to meet, doubled down on its August 22, 2017, determination and withdrew the meeting offer

it had made to Singer just a few weeks before. See Exhibit 27.

E.      The End Game

        143.     Through the years, the Defendants have made their purpose clear: they want Old

P.S. 64 to be what it once was under the City’s ownership—a community center for public use. In

other words, they want their building back.

        144.     Layered atop the zoning requirements imposed by the Zoning Resolution and Rule

51 is a condition to the permission to build and renovate Old P.S. 64—that is, the building’s return

to the public for (what the Defendants and their agents often call) a “true community use as defined

by the stakeholders and residents[.]”10 And this condition comes with selective, targeted, spiteful

treatment for the owner of the building and those affiliated.

        145.     It does not matter whether the Zoning Resolution actually permits a student

dormitory. (It does.) According to former-Councilwoman Mendez, “There is no room, and no




10
  Will Bredderman, Controversial Project Fractures Manhattan Council Race, CRAIN’S NEW YORK BUSINESS (Sept.
11, 2017), http://www.crainsnewyork.com/article/20170911/POLITICS/170909894/controversial-project-fractures-
manhattan-council-race (quoting Defendant Rivera). Upon information and belief, this “true community use”
designation highlights the Defendants’ acknowledgment of the difference between the legal definition of “Community
Facility Use,” which includes a student dormitories under the Zoning Resolution, and the Defendants’ own beliefs of
what a “community use” should be.


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desire, and no way, we will live with a dorm in our backyard,” and “Singer [should] give us back

our building.”11

        146.    Defendants Berman and GVSHP recently explained in their January 2018

newsletter that “a stalemate has persisted” because Plaintiffs have “refused to restore the building

[to being a public community center], relinquish control, or locate legal and appropriate uses

there,” which in their eyes must be a “true community use”—that is, a public community center.

Exhibit 30 (emphasis added). In other words, they believe a “legal” use is not enough; it must be

both legal and appropriate based their own interpretations of those words.

        147.    Sharing the sentiment, Senator Hoylman has explained that he “doesn’t feel that a

dorm is an appropriate community use for this building,”12 and because “CHARAS/El Bohio

Community Center was a cherished public space for Lower East Side residents…[, he] will

continue to work with allies to return the building to community use.”13

        148.    Even Defendant de Blasio has weighed in. Apparently, “[b]efore leaving office,

Councilmember Rosie Mendez secured a public commitment from Mayor de Blasio to seek to

return the building to a public, community use.” Exhibit 30. Speaking on behalf of the City, the

Mayor announced “the City’s interest in reacquiring that building” (even though it is not for sale)

in an effort to “right the wrongs of the past” by “work[ing] with Councilmember Mendez and her




11
  Sarah Ferguson, Dormitory Foes Warn Cooper: Don’t Get in Bed with Singer, THE VILLAGER (May 16, 2013),
http://thevillager.com/2013/05/16/dormitory-foes-warn-cooper-dont-get-in-bed-with-singer/
12
  Sarah Ferguson, Trumped-Up Dorm Rally Used Hired Actors, THE VILLAGER (Nov. 22, 2017),
http://thevillager.com/2017/11/22/trumped-up-dorm-rally-used-hired-actors/
13
  Brad Hoylman, Rallying for Former CHARAS/El Bohio Community Center, NEW YORK STATE SENATE (May 16,
2013), https://www.nysenate.gov/newsroom/articles/brad-hoylman/rallying-former-charasel-bohio-community-
center


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successor to get that done,” given the “failed mistake” of “plac[ing] that building in the hands of

a private owner[.]”14

        149.     Upon information and belief, the Plaintiffs have been unable to build a student

dormitory because of their refusal to accede to the Defendants’ demand of returning Old P.S. 64

to public use.

        150.     Based on the Defendants’ representations to the public, the City is determined to

find a way to get Old P.S. 64 back should the Plaintiffs refuse to comply with their demand to use

the building as some form of a public community center.

        151.     And, upon information and belief, the rest of the Defendants will work to ensure

that the City continues to remain steadfast in this endeavor.

        152.     In the words of Defendants Berman and GVSHP: “We intend to hold the Mayor to

this commitment[.]” Exhibit 30.

                                      FIRST CAUSE OF ACTION

                                   42 U.S.C. § 1983 – First Amendment
                                       (As against all Defendants)

        153.     Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though fully set forth herein.

        154.     The First Amendment prohibits government entities and their actors from

“abridging the freedom of speech,” including the rights to assemble and petition. U.S. Const.

amend. I.

        155.     Specifically, the First Amendment protects the right to associate with others in

pursuit of a wide variety of political, social, economic, educational, religious, and cultural ends.


14
  Levar Alonzo & Lincoln Anderson, City is “Interested in Reacquiring” Old P.S. 64, Mayor Tells Town Hall, THE
VILLAGER (Oct. 13, 2017), http://thevillager.com/2017/10/13/city-interested-in-reaquiring-old-p-s-64-mayor-tells-
town-hall/

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The right of expressive association preserves a diversity of ideas and shields expression from

suppression.

       156.    However, statements by government officials that can reasonably be interpreted as

intimating some form of punishment or adverse regulatory action following the failure to accede

to the government’s requests are actionable First Amendment violations.

       157.    Indeed, even the deterrence in the distribution of items containing protected speech

caused by the government’s pronouncements can give rise to a cognizable First Amendment claim.

       158.    And while evidence of chilled speech is sufficient to state a First Amendment cause

of action where a defendant’s acts that caused the chilling were motivated or substantially

motivated by the exercise of a plaintiff’s First Amendment rights, demonstrating non-speech

related harm also establishes a viable claim.

       159.    In joining the dorm renovation vision, Plaintiffs’ tenants became associated with

the Old P.S. 64 project for expressive, in addition to economic, purposes—that is, with the

understanding that renovating Old P.S. 64 would be a political endeavor that would require

engaging both government and private opposition.

       160.    In petitioning the various branches of government through emails, letters, and other

forms of communication, much of which is mentioned above, the Plaintiffs and their tenants jointly

associated for the First-Amendment-protected, expressive purpose of communicating a specific

idea both to the government and the public in general: Old P.S. 64’s legacy is best served by being

renovated into a student dormitory—a use that closely parallels its student-oriented origins and

provides a benefit to the community by playing a role in increasing educational access.

       161.    The Plaintiffs repeatedly communicated this joint, expressive message to various

elected officials and government representatives, including the named Defendants, and the public.



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       162.    At times, in petitioning for assistance or engaging in advocacy, Plaintiffs’ tenants

served as direct deliverers of the joint, expressive message, as opposed to relying on the Plaintiffs’

alone. For example, on November 26, 2016, Adelphi’s Executive Vice President of Finance and

Administration, Timothy P. Burton, penned a letter to Mayor de Blasio to request assistance while

emphasizing that the “owner needs a building permit to help [Adelphi] meet th[e] goal” of

“increasing” its “Manhattan presence.” Exhibit 31. “This vacant building, once renovated, will

provide affordable student housing for our students who will study at our Manhattan Center.”

Exhibit 31. “I would appreciate any help you can provide to expedite obtaining the requested

building permit from the DOB,” since the “building plans have already been approved by DOB”

and the Plaintiffs “immediately submitted the lease for approval to the [DOB]” soon after the lease

was executed on August 2, 2016. Exhibit 31.

       163.    From the very beginning, the Defendants targeted Adelphi because of its First

Amendment protected conduct and its expressive association with the dorm message for the

purpose of squelching its speech.

       164.    As soon as Adelphi became affiliated with the dorm message, Defendants

undertook a concerted, persistent, and retaliatory plan to stifle Plaintiffs’ dorm speech by

intentionally destroying its expressive association with Adelphi.

       165.    On December 2, 2016, Defendant Berman noticed a filing on New York City’s

website that identified Adelphi as part of the dorm plan, and he notified Defendant Rivera of his

discovery. Exhibit 25.

       166.    Upon information and belief, a few days later, on December 5, a meeting attended

by some or all of the Defendants was held to hatch a plan to interfere with Adelphi and Plaintiffs’

expressive message. See Exhibit 26.



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       167.    Based on the “very productive call” had by the Defendants on December 5, a two-

part plan was reiterated in subsequent emails among the group over the next two days.

       168.    Apparently, two key plans of attack comprised the scheme: traditional lobbying and

direct interference with Plaintiffs’ joint expressive association with Adelphi and their speech.

Defendant Berman summarized: “We look forward to seeing the electeds’ letter to the Mayor’s

office and getting details about the community meeting. Once we have a copy of Rosie’s prior

letter to Cooper Union about PS 64, we can use that as a model for the community group’s letter

to Adelphi.” Exhibit 32. Defendant Sosnick chimed in that since “Adelphi ha[d] already reached

out to the Mayor’s Office in favor of the project,” it was “urgent to reach out to Adelphi to let them

know the history of the building and what they are walking into.” Exhibit 32. The goal was to

ensure that “permits aren’t issued in the dead of the holidays based on one side’s lobbying.” Id.

       169.    In other words, in retaliation to Adelphi’s joint lobbying, communications, and

petitioning of government—all of which is First Amendment protected activity, the Defendants’

immediate reaction was to engage in purposeful, targeted, and threatening acts, aside from

engaging in their own advocacy, that would let Adelphi know “what they are walking into.”

       170.    Feeding off of Defendant Sosnick’s comments, Defendant Berman quickly

followed up: “Carlina and Susan, have either of you found Rosie’s past letter to Cooper about this

that was vetted with the Council’s lawyers for us to use for our letter to Adelphi?” Exhibit 32.

       171.    Based on this email, not only was the government and its staff acting jointly with

the private defendants and their people, it was also actively proofreading, “vett[ing],” and engaging

in joint and coordinated messaging with the private defendants in response to, and for the purpose

of interfering with, Adelphi and Plaintiffs’ protected First Amendment activity.




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       172.    Surprisingly, this was not the government’s first rodeo either: the plan executed

against Adelphi was admittedly a carbon copy of a previous ploy brought against Plaintiffs’

previous tenants, Cooper Union and Joffrey Ballet—both of which dropped out the picture soon

after the Defendants became involved.

       173.    The proof of the intentional, retaliatory interference is in their own words:

Councilmember Rivera seems to have checked with then-Councilwoman Mendez about the exact

technique used against Cooper Union and Joffrey Ballet (at the request of Berman). Thankfully,

she memorialized her conversation with the then-Councilwoman in an email to the rest of the

group: “I have not found a letter from Rosie to Cooper Union. She confirmed with me that many

of those conversations happened via telephone and does not recall anything in writing.” Exhibit

11.

       174.    Upon information and belief, whatever “conversations” occurred between then-

Councilmember Mendez and Plaintiffs’ tenants, they were made for the purpose of interfering with

the Plaintiffs’ expressive association with Cooper Union and Joffrey Ballet, and they succeeded in

coercing the tenants to disassociate with Plaintiffs and stop their pro-dorm advocacy, thereby

chilling their speech.

       175.    Upon information and belief, with assurances from Defendant De Blasio’s office

in hand, the Defendants coordinated and executed a retaliatory plan based off of their original

Cooper Union scheme, but this time, Adelphi—the new tenant associating with Plaintiffs’ dorm

message—was the target.

       176.    Leveraging their authority and credentials as government officials, Defendants

intentionally orchestrated a series of regulatory retaliatory acts under color of law in response to

Adelphi’s expressive association with Plaintiffs’ message.



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       177.    Following Berman’s prodding reminders of the “assurances” made by the “Mayor’s

Office of Legislative Affairs” in the summer of 2016, which appeared to refer to the promise made

by the Mayor’s office to “direct the DOB to look more closely at the issues” and refrain from

“issuing any permits for 605 East 9th Street until a comprehensive review of the issues we presented

[is] undertaken,” Exhibit 17, the Defendants worked to ensure that Plaintiffs’ project would

encounter significant delays before the DOB.

       178.    In fact, then-Councilwoman Mendez and her government-official supporters

demanded Defendant de Blasio deliver on the assurances previously made by his staff on July 12th

and November 7th that “all rules and restrictions would be adhered to,” which in their eyes meant

“urg[ing] DOB and the Administration’s attorneys to revisit DOB’s approach to Mr. Singer’s

proposals and closely watch the use of the Old PS 64 building to ensure that it is in full compliance

with the law.” Exhibit 33.

       179.    Receiving the message loud and clear, the DOB continued the delayed review of

the lease for a total of roughly 8 months—an unprecedented amount of time to review a lease

(versions of which had already been previously reviewed by DOB)—and issued objections based

on the Councilwoman’s analysis.

       180.    The DOB’s April 20, 2017, objections, which were later reiterated in the August

22, 2017, determination, were contra to previous above-mentioned determinations issued by the

DOB in relation to this property.

       181.    As a result of the Defendants intentional and purposeful retaliatory actions,

Adelphi’s speech was actually chilled when it cancelled its lease with Plaintiffs on October 11,

2017, and disassociated with Plaintiffs dorm related advocacy.




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        182.     As a result of the Defendants intentional and purposeful retaliatory actions, Adelphi

cancelled its lease prematurely, for it had purposefully negotiated additional time thresholds for

cancelling the lease well into 2018.

        183.     As a result of the Defendants intentional and purposeful retaliatory actions, Adelphi

has even refused to communicate with Plaintiffs, ignoring their outreach attempts.

        184.     Driving additional metaphorical nails into Plaintiffs’ First Amendment rights,

Defendant de Blasio publically declared—just two days after Adelphi cancelled its lease with

Plaintiffs—“the city’s interest in reacquiring” Old P.S. 64.15

        185.     Despite the Mayor’s public display of enthusiasm, none of the Defendants or their

staff has contacted Plaintiffs to discuss their newfound interest in reacquiring the property after

Defendant de Blasio made that announcement.

        186.     Upon information and belief, this statement was made for the purpose of

discouraging other potential tenants from associating with the Plaintiffs and their dorm-related

message.

        187.     The combination of the Defendants’ publically known regulatory actions taken

against Plaintiffs and the City’s declared “interest in reacquiring” the Plaintiff’s building, along

with the Mayor’s characterization of its sale to Plaintiff as a “wrong of the past” that must be made

“right” with the help of “Councilmember Mendez and her successor,” the government defendants

have directly, purposefully, and in retaliatory fashion interfered with Plaintiff’s First Amendment

rights by crippling its pro-dorm message and ability to associate for expressive and economic

purposes with future tenants.



15
  Levar Alonzo & Lincoln Anderson, City is “Interested in Reacquiring” Old P.S. 64, Mayor Tells Town Hall, THE
VILLAGER (Oct. 13, 2017), http://thevillager.com/2017/10/13/city-interested-in-reaquiring-old-p-s-64-mayor-tells-
town-hall/

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        188.    At all times relevant herein, Plaintiffs had interests protected by the First

Amendment.

        189.    At all times relevant herein, Plaintiffs actions were protected by the First

Amendment.

        190.    At all times relevant herein, the actions taken by Defendants, under color of law, in

violation of the Plaintiffs’ First Amendment rights were motivated or substantially motivated by

the Plaintiffs’ exercise of that right.

        191.    At all times relevant herein, the Defendants’ actions effectively and actually chilled

the Plaintiffs’ exercise of their First Amendment rights.

        192.    At all times relevant herein, the Plaintiffs’ have been singled out and subjected to

adverse retaliatory treatment by the Defendants because of their First Amendment protected

activities.

        193.    At all times relevant herein, because of the Plaintiffs’ refusal to accede to the

Defendants’ desired use and taking of Old P.S. 64, Defendants unleashed a tirade of oral and

written statements that can reasonably be interpreted as intimating some form of punishment or

adverse regulatory action, and the Defendants have in fact succeeded in staying true to these

intimations.

        194.    At all times relevant herein, the burden on the Plaintiffs’ First Amendment rights

has been substantial and the Defendants’ had available means to express their feelings about Old

P.S. 64 that would have been significantly less restrictive of Plaintiffs’ First Amendment rights.

        195.    As demonstrated above, each of the individually named Defendants has been

personally involved in subjecting the Plaintiffs to the constitutional violations alleged herein.




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          196.   Each of the government-employed Defendants is a high level policymaker that has

the power and ability to establish municipal policies, including the responsibility to train or

supervise subordinates.

          197.   Each of the private-entity Defendants operated with significant encouragement

from the government Defendants, as willful participants in a joint effort with the government,

and/or were entwined with government policies.

          198.   Collectively and individually, the Defendants have been acting pursuant to a

longstanding policy or custom, which has amounted to a continuous violation, of acting with

deliberate indifference, malice, and bad faith against Plaintiffs in violation of their constitutional

rights.

          199.   There is no legitimate or compelling state interest or objective unrelated to the

suppression of ideas justifying the selective, spiteful, targeted, and differential treatment to which

Defendants’ subjected the Plaintiffs in violation of their First Amendment rights.

          200.   To the extent the constitutional violations suffered by Plaintiffs where facilitated

by agents of the Defendants, the Defendants were grossly negligent in the supervision of their

subordinates who facilitated the constitutional violations experienced by the Plaintiffs and failed

to act on information indicating that unconstitutional acts were occurring.

          201.   As a direct and proximate result of the Defendants’ deliberate policy or custom,

Plaintiffs have sustained both economic and non-economic damages.

                                  SECOND CAUSE OF ACTION

                    42 U.S.C. § 1983 – Equal Protection: Selective Enforcement
                                   (As against all Defendants)

          202.   Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though fully set forth herein.

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       203.    The Equal Protection Clause of the Fourteenth Amendment requires that the

government treat all similarly situated people alike.

       204.    Plaintiffs were treated differently than other similarly situated individuals.

       205.    Plaintiffs experienced differential treatment based on impermissible considerations,

including Defendants’ malicious and bad faith intent to injure the Plaintiffs.

       206.    Both Cooper Union and Adelphi are educational institutions covered by Rule 51.

       207.    Both the Cooper Union lease and the Adelphi lease were for a period of at least 10

years, as required by Rule 51.

       208.    A restrictive declaration has been in place on the property since July 2013, as

required by Rule 51.

       209.    When Plaintiffs had a lease with Cooper Union, which is an educational institution

like Adelphi, the DOB issued permits for compliance with Rule 51 for a lease that contained a

two-part structure whereby two floors of Old P.S. 64 would be leased to Cooper Union and the

beds on those floors then licensed to students.

       210.    The DOB issued the 2015 Permits for the Cooper Union project before a finalized

lease was submitted.

       211.    The DOB has refused to issue the same kind of permits for the Adelphi lease, even

though it was structured the same way and was otherwise similar to the Cooper Union lease.

       212.    Upon information and belief, the DOB has also selectively and purposefully

subjected Plaintiff to an abnormally long and tedious review process different that of other

similarly situated school dorm projects.




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       213.    For example, the DOB scrutinized the Adelphi lease for about 8 months when it

only took 3 days to review a lease of another school dorm building located at 81 East 3rd Street in

Manhattan.

       214.    The DOB and its representatives have expressly refused Plaintiffs’ good faith

attempts to meet and resolve any objections to the project in person; such meetings have been in

fact offered and scheduled, only to be quickly cancelled.

       215.    Furthermore, the DOB has made zoning determinations interpreting the Zoning

Resolution as permitting the issuance of permits to renovate an entire building even when only a

portion of the building—namely, a few floors—is leased.

       216.    The DOB made these zoning determinations before the Adelphi lease was

submitted to the DOB.

       217.    Under the Adelphi lease, the DOB has taken a contradictory stance on the same

issues addressed by the zoning determinations.

       218.    The DOB has taken these opposite and inconsistent positions because of political

pressure and other forms of interference coordinated and planned by the other named Defendants.

       219.    As demonstrated above, each of the individually named Defendants have been

personally involved in subjecting the Plaintiffs to the constitutional violations alleged herein.

       220.    Each of the government-employed Defendants is a high level policymaker that has

the power and ability to establish municipal policies, including the responsibility to train or

supervise subordinates.

       221.    Each of the private-entity Defendants operated with significant encouragement

from the government Defendants, as willful participants in a joint effort with the government,

and/or were entwined with government policies and actions.



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        222.    In so acting, collectively and individually, Defendants have a longstanding policy

or custom, which has amounted to a continuous violation, of acting with deliberate indifference,

malice, and bad faith against Plaintiffs in violation of their constitutional rights.

        223.    Defendants have been operating under color of law and in violation of Plaintiffs’

constitutional rights.

        224.    Upon information and belief, the Defendants selectively enforced Rule 51 and

approval process involving dormitories knowing full well that other similarly situated projects

were not and had not been subjected to the same, tedious level of scrutiny.

        225.    Upon information and belief, the dorms located at the following addresses were not

(or are not currently being) subjected the same, tedious level of scrutiny as Plaintiffs’ project: 200

E. 6th Street; 120 East 12th Street; 318 E. 15th Street; 407 First Avenue; 33 Beekman Street; 182

Broadway; and 555 10th Avenue.

        226.    There is no legitimate state interest or objective justifying the selective, spiteful,

targeted, and differential treatment the Defendants have subjected the Plaintiffs and their attempts

to renovate Old P.S. 64 into a dorm.

        227.    To the extent the constitutional violations suffered by Plaintiffs where executed by

agents of the Defendants, the Defendants were grossly negligent in the supervision of their

subordinates who facilitated the constitutional violations experienced by the Plaintiffs and failed

to act on information indicating that unconstitutional acts were occurring.

        228.    As a direct and proximate result of the Defendants’ deliberate actions, executed

pursuant to a policy or custom, Plaintiffs have sustained both economic and non-economic

damages.




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                                  THIRD CAUSE OF ACTION

                        42 U.S.C. § 1983 – Equal Protection: Class of One
                                   (As against all Defendants)

         229.   Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though fully set forth herein.

         230.   The Equal Protection Clause of the Fourteenth Amendment requires that the

government treat all similarly situated people alike.

         231.   Plaintiffs were intentionally treated differently from other similarly situated

individuals.

         232.   The differential treatment encountered by Plaintiffs was motivated by animus and

resulted in unequal treatment that was inconsistent, arbitrary, and without rational or legitimate

basis.

         233.   The Defendants and their agents knowingly treated the Plaintiffs differently from

others similarly situated knowing full well that the unequal treatment was inconsistent, arbitrary,

and without rational or legitimate basis.

         234.   Both Cooper Union and Adelphi are educational institutions covered by the Rule

51.

         235.   Both the Cooper Union lease and the Adelphi lease were for a period of at least 10

years, as required by the Rule 51.

         236.   A restrictive declaration has been in place on the property since July 2013, as

required by Rule 51.

         237.   When Plaintiffs had a lease with Cooper Union, which is an educational institution

like Adelphi, the DOB issued permits for compliance with Rule 51 for a lease that contained a




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two-part structure whereby two floors of Old P.S. 64 would be leased to Cooper Union and the

beds on those floors then licensed to students.

       238.    The DOB issued permits for the Cooper Union project before a finalized lease was

submitted.

       239.    The DOB has refused to issue permits for the Adelphi lease, even though it was

structured the same way and was otherwise similar to the Cooper Union lease.

       240.    Upon information and belief, the DOB has also selectively and purposefully

subjected Plaintiff to an abnormally long and tedious review process different that of other

similarly situated school dorm projects.

       241.    For example, the DOB scrutinized the Adelphi lease for 8 months when it only took

3 days to review a lease of another school dorm building located at 81 East 3rd Street in Manhattan.

       242.    The DOB and its representatives have expressly refused Plaintiffs’ good faith

attempts to meet and resolve any objections to the project in person; such meetings have been in

fact offered and scheduled, only to be quickly cancelled.

       243.    Furthermore, the DOB has made zoning determinations interpreting the Zoning

Resolution as permitting the issuance of permits to renovate an entire building even when only a

portion of the building—namely, a few floors—is leased.

       244.    The DOB made all of these zoning determinations before the Adelphi lease was

submitted to the DOB.

       245.    Under the Adelphi lease, the DOB has taken the opposite stance on the same issues

addressed by the zoning determinations.

       246.    The DOB has taken these opposite and inconsistent positions because of political

pressure and other forms of interference coordinated and planned by the other named Defendants.



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        247.    As demonstrated above, each of the individually named Defendants have been

personally involved in subjecting the Plaintiffs to the constitutional violations alleged herein.

        248.    Each of the government-employed Defendants is a high level policymaker that has

the power and ability to establish municipal policies, including the responsibility to train or

supervise subordinates.

        249.    Each of the private-entity Defendants operated with significant encouragement

from the government Defendants, as willful participants in a joint effort with the government,

and/or were entwined with government policies.

        250.    In so acting, collectively and individually, Defendants have a longstanding policy

or custom, which has amounted to a continuous violation, of acting with deliberate indifference,

malice, and bad faith against Plaintiffs in violation of their constitutional rights.

        251.    Defendants have been operating under color of law and in violation of Plaintiffs’

constitutional rights.

        252.    Upon information and belief, the Defendants selectively enforced Rule 51 and the

approval process involving dormitories knowing full well that other similarly situated projects

were not and had not been subjected to the same, tedious level of scrutiny.

        253.    Upon information and belief, the dorms located at the following addresses were not

(or are not currently being) subjected the same, tedious level of scrutiny as Plaintiff’s project: 200

E. 6th Street; 120 East 12th Street; 318 E. 15th Street; 407 First Avenue; 33 Beekman Street; 182

Broadway; and 555 10th Avenue.

        254.    There is no legitimate state interest or objective justifying the selective, spiteful,

targeted, and differential treatment the Defendants have subjected the Plaintiffs and their attempts

to renovate Old P.S. 64 into a dorm.



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          255.   To the extent the constitutional violations suffered by Plaintiffs where executed by

agents of the Defendants, the Defendants were grossly negligent in the supervision of their

subordinates who facilitated the constitutional violations experienced by the Plaintiffs and failed

to act on information indicating that unconstitutional acts were occurring.

          256.   As a direct and proximate result of the Defendants’ deliberate actions, executed

pursuant to a policy or custom, Plaintiffs have sustained both economic and non-economic

damages.

                                  FOURTH CAUSE OF ACTION

                             42 U.S.C. § 1983 – Substantive Due Process
                                     (As against all Defendants)

          257.   Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though fully set forth herein.

          258.   The Due Process Clause of the Fourteenth Amendment protects persons against

deprivations of “life, liberty, or property.” U.S. Cost. Amend. XIV, § 1.

          259.   Plaintiffs have a substantive due process right to be free from arbitrary government

action.

          260.   Plaintiffs have a valid property interest in a building permit that will allow Old P.S.

64 to be renovated into a dorm.

          261.   Plaintiffs were deprived of this valid property interest when their building permits

were revoked.

          262.   Plaintiffs were also deprived of this valid property interest when their building

permits were never issued.

          263.   Plaintiffs dedicated substantial resources—financial and otherwise—in reliance on

their building permits and all of the rights and privileges involved with the same.

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        264.    Plaintiffs have a legitimate claim of entitlement, and absent the denial of due

process, there is a very strong likelihood that the application for the permit should have been

granted (and, in the case of the 2014 and 2015 Permits, not revoked).

        265.    As demonstrated above, the Defendants have deprived the Plaintiffs of the

aforementioned property interest in a way that is so outrageously arbitrary, conscience shocking,

and oppressive in a constitutional sense as to be a gross abuse of government authority.

        266.    Each of the individually named Defendants have been personally involved in

subjecting the Plaintiffs to the constitutional violations alleged herein.

        267.    Each of the government-employed Defendants is a high level policymaker that has

the power and ability to establish municipal policies, including the responsibility to train or

supervise subordinates.

        268.    Each of the private-entity Defendants operated with significant encouragement

from the government Defendants, as willful participants in a joint effort with the government,

and/or were entwined with government policies.

        269.    Acting collectively and individually, Defendants have a longstanding policy or

custom, which has amounted to a continuous violation, of acting with deliberate indifference,

malice, and bad faith against Plaintiffs in violation of their constitutional rights.

        270.    Defendants have been operating under color of law and in violation of Plaintiffs’

constitutional rights.

        271.    Upon information and belief, the Defendants selectively enforced Rule 51 and the

approval process involving dormitories knowing full well that other similarly situated projects

were not and had not been subjected to the same, tedious level of scrutiny.




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       272.    Upon information and belief, the dorms located at the following addresses were not

(or are not currently being) subjected the same, tedious level of scrutiny as Plaintiff’s project: 200

E. 6th Street; 120 East 12th Street; 318 E. 15th Street; 407 First Avenue; 33 Beekman Street; 182

Broadway; and 555 10th Avenue.

       273.    There is no legitimate state interest or objective justifying the selective, spiteful,

targeted, and differential treatment the Defendants have subjected the Plaintiffs and their attempts

to renovate Old P.S. 64 into a dorm.

       274.    To the extent the constitutional violations suffered by Plaintiffs where executed by

agents of the Defendants, the Defendants were grossly negligent in the supervision of their

subordinates who facilitated the constitutional violations experienced by the Plaintiffs and failed

to act on information indicating that unconstitutional acts were occurring.

       275.    As a direct and proximate result of the Defendants’ deliberate actions, executed

pursuant to a policy or custom, Plaintiffs have sustained both economic and non-economic

damages.

                                  FIFTH CAUSE OF ACTION

                    42 U.S.C. § 1983 – Unconstitutional Conditions Doctrine
                                  (As against all Defendants)

       276.    Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though fully set forth herein.

       277.    The Plaintiffs have submitted applications for building permits that will allow for

the renovation of Old P.S. 64 into a dormitory.

       278.    A permit allowing such renovation was initially issued by the DOB on August 22,

2014, under the Permit Number 121329801-01-AL.




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        279.    At the behest of the other Defendants, specifically Councilmember Mendez, the

DOB revoked the 2014 Permit.

        280.    Following the Plaintiffs’ diligent and good-faith attempts to resolve the objections

made by the DOB, the objections were resolved and a new permit issued on July 13, 2015.

        281.    In the meantime, the Defendants were actively working to undermine the lease

Plaintiffs had with Cooper Union and Joffrey Ballet at the time.

        282.    Upon information and belief, an updated lease making the corrections required to

remedy the DOB’s objections was not signed due to the efforts of the Defendants.

        283.    Soon after, in August of 2016, Adelphi signed a lease with the Plaintiffs, which was

promptly submitted to the DOB for review.

        284.    The Defendants again interfered with the DOB’s permitting process, causing

extensive delays, among other interference, which significantly undermined the time-sensitive

dorm project.

        285.    The Defendants knew that the project stemming from the Adelphi lease was time-

sensitive because the Plaintiffs had written numerous letters to the Defendants informing them as

such.

        286.    Upon information and belief, due to the Defendants’ obstructionist maneuvers,

Adelphi terminated the lease associated with renovating Old P.S. 64 into a dorm.

        287.    The Defendants’ actions over the years have amounted to a concerted effort,

executed under color of law, to undermine the Plaintiffs’ ability to renovate Old P.S. 64 into a

dorm in violation of Plaintiffs’ constitutional rights.

        288.    The Defendants have and will continue to obstruct the Plaintiffs’ attempts to

renovate Old P.S. 64 into a dorm, even though Plaintiffs are legally permitted to build a dorm as-



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of-right, so long Plaintiffs refuse to operate the same kind of public community center that existed

in the building before Plaintiffs purchased Old P.S. 64 at auction nearly two decades ago.

          289.   The Defendants have repeatedly made it known, often through statements to the

media, that they will continue to obstruct the Plaintiffs’ dorm project until the building is

(somehow) returned to the community to be what it once was—a community center open to the

public.

          290.   Upon information and belief, the Defendants will continue to use their authority

and influence to obstruct the Plaintiffs, no matter what kind of project Plaintiffs propose, unless

Plaintiffs concede to either (1) return the building to New York City for use as a public community

center or (2) agree to renovate Old P.S. 64 into a community center for public use.

          291.   In this way, the Defendants have conditioned the issuance and maintenance of a

building permit that will allow Plaintiffs to renovate Old P.S. 64 upon the Plaintiffs allowing Old

P.S. 64 to be a community center for public use.

          292.   As such, Defendants have conditioned the issuance and maintenance of a building

permit (and all the rights and privileges associated with the same) on an unconstitutional condition.

          293.   The Takings Clause of the Fifth Amendment of the United States Constitution,

made applicable to the States through the Fourteenth Amendment, provides: “[N]or shall private

property be taken for public use, without just compensation.”

          294.   Under the Unconstitutional Conditions Doctrine, the government may not require

a person to give up a constitutional right in exchange for a discretionary benefit conferred by the

government where the benefit sought has little or no relationship to the property.

          295.   Acceding to the Defendants’ condition, which the Plaintiffs’ refuse to do, would

constitute a taking under applicable law.



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          296.   There is no essential nexus between a legitimate government interest and the permit

condition that the Defendants are attempting to exact.

          297.   The condition the Defendants seek to exact lacks the rough proportionality required

by applicable law.

          298.   As demonstrated above, each of the individually named Defendants has been

personally involved in subjecting the Plaintiffs to the constitutional violations alleged herein.

          299.   Each of the government-employed Defendants is a high level policymaker that has

the power and ability to establish municipal policies, including the responsibility to train or

supervise subordinates.

          300.   Each of the private-entity Defendants operated with significant encouragement

from the government Defendants, as willful participants in a joint effort with the government,

and/or were entwined with government policies.

          301.   Collectively and individually, the Defendants have been acting pursuant to a

longstanding policy or custom, which has amounted to a continuous violation, of acting with

deliberate indifference, malice, and bad faith against Plaintiffs in violation of their constitutional

rights.

          302.   There is no legitimate state interest or objective justifying the selective, spiteful,

targeted, and differential treatment creating the unconstitutional condition the Defendants have

subjected the Plaintiffs and their attempts to renovate Old P.S. 64 into a dorm.

          303.   To the extent the constitutional violations suffered by Plaintiffs where facilitated

by agents of the Defendants, the Defendants were grossly negligent in the supervision of their

subordinates who facilitated the constitutional violations experienced by the Plaintiffs and failed

to act on information indicating that unconstitutional acts were occurring.



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        304.    As a direct and proximate result of the Defendants’ deliberate policy or custom,

Plaintiffs have sustained both economic and non-economic damages.

                                   SIXTH CAUSE OF ACTION

                                  42 U.S.C. § 1983 – Conspiracy
                               (As against all Individual Defendants)

        305.    Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though fully set forth herein.

        306.    At all relevant times herein, the Defendants conspired amongst themselves in a way

that deprived Plaintiffs of their constitutional rights.

        307.    Specifically, at all times relevant herein, the Defendants conspired amongst

themselves to deprive Plaintiffs of their Equal Protection, Substantive Due Process, and First

Amendment Rights under the United States Constitution, in addition to creating an

unconstitutional condition under the Takings Clause of the Fifth Amendment.

        308.    At all relevant times herein, Defendants acted in concert to inflict the

unconstitutional injures alleged herein by entering into an understanding and concerted agreement

that would prevent Plaintiffs from renovating Old P.S. 64 into a dorm, which has—thus far—been

a successful endeavor.

        309.    The Defendants engaged in multiple overt acts in furtherance of their goals, which

resulted in substantial economic and non-economic damages, by engaging in actions that actively

interfered with and substantially delayed Plaintiffs’ ability to renovate Old P.S. 64 into a dorm.

        310.    Upon information and belief, some of the Defendants, specifically then-

Councilwoman Mendez and Councilwoman Rivera, engaged in off-the-record, private

conversations with Defendant De Blasio, Defendant DOB, and representatives of Cooper Union,

Joffrey Ballet, and Adelphi, after coordinating a plan with the direct help of Defendant Berman,

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Defendant Sosnick, and GVSHP, for the purpose of undermining the leases Plaintiffs had in place

and ensuring that building permits would not be (or remain) issued, depriving Plaintiffs of their

valid property interest in a building permit.

       311.    Upon information and belief, Defendants engaged in these conspiracies knowing

that their interpretations were contrary to law and would result in constitutional injury.

       312.    Defendants engaged in these conspiracies under color of law and in direct

contravention of Plaintiffs’ constitutional rights.

       313.    Each of the private-entity Defendants operated with significant encouragement

from the government Defendants, as willful participants in a joint effort with the government,

and/or were entwined with government policies.

       314.    Each of the government-employed Defendants, cloaked with the power of the

government but operating outside of their normal government duties, acted out of their own

personal interest in resurrecting the CHARAS/El Bohio community center. To accomplish this

goal, Defendants have targeted and taken action against Plaintiffs’ dorm project with deliberate

indifference toward Plaintiffs’ constitutional rights in furtherance of their own personal and

political agenda.

       315.    As a result of the conspiracy, Plaintiffs experienced severe economic and non-

economic damages.

                                SEVENTH CAUSE OF ACTION

                                 42 U.S.C. § 1985(3) – Conspiracy
                               (As against all Individual Defendants)

       316.     Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though fully set forth herein.




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        317.    Section 1985(3) prohibits “two or more persons in any state…[to] conspire…for

the purpose of depriving, either directly or indirectly, any person or class of persons of the equal

protection of the laws[.]” 42 U.S.C § 1985(3).

        318.    At all relevant times herein, the Defendants conspired amongst themselves in a way

that deprived Plaintiffs of their constitutional rights.

        319.    At all relevant times herein, Defendants acted in concert to inflict the

unconstitutional equal protection injures alleged herein by entering into an understanding and

concerted agreement to prevent Plaintiffs from renovating Old P.S. 64 into a dorm, which has—

thus far—been a successful endeavor.

        320.    The Defendants engaged in an overt act in furtherance of their goal, which resulted

in substantial economic and non-economic damages, by engaging in actions that actively interfered

with and substantially delayed Plaintiffs’ ability to renovate Old P.S. 64 into a dorm.

        321.    Upon information and belief, some of the Defendants, specifically then-

Councilwoman Mendez and Councilwoman Rivera, engaged in off-the-record, private

conversations with Defendant De Blasio, Defendant DOB, and representatives of Cooper Union,

Joffrey Ballet, and Adelphi, after coordinating a plan with the direct help of Defendant Berman,

Defendant Sosnick, and GVSHP, for the purpose of undermining the leases Plaintiffs had in place

and ensuring that building permits would not be (or remain) issued, depriving Plaintiffs of their

valid property interest in a building permit.

        322.    Upon information and belief, Defendants engaged in these conspiracies knowing

that their interpretations were contrary to law and would result in constitutional injury.

        323.    Defendants engaged in these conspiracies under color of law and in direct

contravention of Plaintiffs’ constitutional rights.



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       324.    Each of the private-entity Defendants operated with significant encouragement

from the government Defendants, as willful participants in a joint effort with the government,

and/or were entwined with government policies.

       325.    Each of the government-employed Defendants, cloaked with the power of the

government but operating outside of their normal government duties, acted out of their own

personal interest in resurrecting the CHARAS/El Bohio community center. To accomplish this

goal, Defendants have targeted and taken action against Plaintiffs’ dorm project with deliberate

indifference toward Plaintiffs’ constitutional rights in furtherance of their own personal and

political agenda.

       326.    As a result of the conspiracy, Plaintiffs experienced severe economic and non-

economic damages.

                                 EIGHTH CAUSE OF ACTION

                         42 U.S.C. § 1986—Action for Neglect to Prevent
                                   (As against all Defendants)

       327.    Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though set forth herein.

       328.    Section 1986 states that “[e]very person who, having knowledge that any of the

wrongs conspired to be done, and mentioned in Section 1985…, are about to be committed, and

having power to prevent or aid in preventing the commission of the same, neglects or refuses so

to do, if such wrongful act be committed, shall be liable to the party injured…for all damages

caused by such wrongful act, which such person by reasonable diligence could have prevented[.]”

42 U.S.C. § 1986.

       329.    At all relevant times herein, the individually named Defendants did knowingly

conspire to deprive Plaintiffs of their constitutional rights as set forth in the preceding paragraphs.

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       330.    At all times referenced herein, the individually named Defendants expressly

conspired to conceal their acts by engaging in off-the-record conversations and discussions that

played a role in establishing the conspiracy to deprive Plaintiffs of their constitutional rights.

       331.    The Defendants all knew of this conspiracy and failed to terminate and/or prevent

its execution, even though they each had the power to prevent or aid in preventing its commission

with reasonable diligence.

       332.    As a direct and proximate result of Defendants’ failure to cease their conspiracy

and/or intervene to prevent it, Plaintiffs sustained severe economic and non-economic damages.

                                  NINTH CAUSE OF ACTION

                   Tortious Interference with Prospective Economic Advantage
                        (As against all individual Defendants and GVSHP)

       333.    Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though set forth herein.

       334.    Plaintiffs had a business relationship with Cooper Union, Joffrey Ballet, and

Adelphi.

       335.    At all times relevant herein, Defendants knew that Cooper Union, Joffrey Ballet,

and Adelphi were engaged in separate business relationships with Plaintiffs.

       336.    Specifically, at all times relevant herein, Defendants knew that Cooper Union,

Joffrey Ballet, and Adelphi were tenants of Plaintiffs at Old P.S. 64.

       337.    As described above, Defendants directly targeted and interfered with the business

relationship between the Plaintiffs and Cooper Union, Joffrey Ballet, and Adelphi.

       338.    In doing so, the Government Defendants acted outside the scope of their authority

for their respective positions.




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       339.    The Defendants’ interfered solely out of malice and/or for the sole purpose of

inflicting intentional harm on Plaintiffs.

       340.    The Defendants interference amounted to extreme and unfair economic pressure or

was otherwise wrongful under applicable law.

       341.    As a result of the Defendants’ interference, Cooper Union, Joffrey Ballet, and

Adelphi each cancelled their lease with Plaintiffs.

       342.    As a result of the Defendants’ interference, Plaintiffs lost prospective economic

relationships that would have expanded to other floors of the building post-renovation.

       343.    As a result of the Defendants’ interference, Plaintiffs lost prospective economic

relationships in renewed leases on the floors that were rented by each respective tenant.

       344.    As a result of the Defendants’ interference, Plaintiffs were also damaged because

under the DOB’s current interpretation of Rule 51 a tenant is required before Plaintiffs can begin

construction and renovate Old P.S. 64. By tortiously interfering with Plaintiffs’ tenant business

relationships, Plaintiffs are expending significant sums to maintain the building without a tenant,

in addition to losing the money they would have had under the contracts with which the Defendants

interfered.

       345.    As a direct and proximate result of Defendants’ tortious interference, Plaintiffs

sustained severe economic and non-economic damages.

                                  TENTH CAUSE OF ACTION

                                         Defamation Per Se
                             (As against Andrew Berman and GVSHP)

       346.    Plaintiffs repeat, reiterate, and re-allege each and every allegation set forth above

with the same force and effect as though set forth herein.




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       347.    On January 2, 2018, GVSHP disseminated on Twitter a “Winter/Spring 2018

Newsletter” (the “2018 Newsletter”), which can also currently be viewed online as a PDF.16 See

Exhibit 30.

       348.    The 2018 Newsletter included the following written statements (the “Statements”),

which amount to actionable defamation per se:

               (1) “The developer who bought the building nearly twenty years ago has

                   consistently sought to demolish and disfigure the building, allowed it to decay,

                   and sought to place illegal uses there.”

               (2) “[A] stalemate has persisted, as he has refused to restore the building, relinquish

                   control, or locate legal and appropriate uses there.”

               (3) “We intend to hold the Mayor to this commitment, and ensure that the current

                   developer owner does not succeed in locating the illegal uses there.” Exhibit

                   30.

       349.    The written statements in the 2018 Newsletter are false, disparaging, derogatory,

and misleading. At the very least, they imply or suggest that Plaintiffs’ business of renovating Old

P.S. 64 is plagued with illegitimacy and illegality and attempts to peddle improper uses on the

property—all of which is patently false.

       350.    Specifically, the Statements affirmatively state, as if it were a known and

established fact, that Plaintiffs have been (and will continue to) purposefully “place illegal uses”

on Old P.S. 64.




16
  See Saved from the Wrecking Ball!, GVSHP.ORG (last visited Jan. 23, 2018),
http://www.gvshp.org/_gvshp/pdf/GVSHP%20Newsletter%20Winter-Spring%202018.pdf.

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        351.    The Statements were made in a way to imply that Defendants Berman and GVSHP,

as speakers, were in possession of certain facts, unknown to the audience, which support their

position that Plaintiffs were seeking to place illegal uses on the property.

        352.    The Statements not only impugn the Plaintiffs’ ability and intent to renovate and

manage a dorm legally under the law, they also expose the Plaintiffs to public contempt, hatred,

aversion, and disgrace by the community who comes across, reads, or subscribes to Defendant

Berman and GVSHP’s misinformation campaign.

        353.    Defendants Berman and GVSHP have disseminated these aforementioned false

ideas with actual malice toward Plaintiffs, knowing that the Statements were false or with utter

and reckless disregard for the Statements’ falsity.

        354.    For example, Defendants Berman and GVSHP are well apprised of Old P.S. 64’s

history as outlined above, and they knew at the time these Statements were made that Plaintiffs

had in the recent past submitted numerous applications for zoning determinations in order to seek

additional clarity from the DOB as to the requirements for renovating Old P.S. 64 into a dorm. The

DOB made a determination with which the Defendants disagreed and which the Defendants

believed would favor the Plaintiffs’ project. Despite Plaintiffs demonstrated attempts to seek

clarity from the DOB through these determinations, Defendants Berman and GVSHP knowingly

and recklessly perpetuate a contradictory notion that twists Plaintiffs’ requests for clarity with the

blatantly false and untenable idea that Plaintiffs are consistently seeking to put in place illegal uses

on Old P.S. 64.




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       355.    Defendants Berman and GVSHP disseminated the Statements with utter and

reckless disregard for the effect the Statements would have, and with the malicious, wanton,

wrongful, and willful intent to injure Plaintiffs.

       356.    The false Statements relate to Plaintiffs’ status as a landlord, developer, owner, and

manager of Old P.S. 64, making the Statements defamatory per se, since they are incompatible

with the proper conduct of, and have the tendency to injure, Plaintiffs’ business, trade, or

profession.

       357.    Upon information and belief, the 2018 Newsletter was published to third parties,

for it was distributed through both social media and email, and it was offered in print form to

buildings and businesses.

       358.    Specifically, the 2018 Newsletter was viewed by the following third parties who

“liked” the post on Twitter as of January 23, 2018:

               (1)      Iolita Shatter, who operates the following Twitter account: @Shatterlo.

               (2)      Charle-John Cafiero, who operates the following Twitter account:

                     @CJCStrategists.

               (3)      Theodore Grunewald, who operates the following Twitter account:

                     @TedGrunewald.

               (4)      Zella   Jones,    who        operates     the    following   Twitter   account:

                     @NoHoManhattan.

               (5)      Chess    Forum,    which       operates    the   following   Twitter   account:

                     @Chessforumnyc.

               (6)      WiFi-NY, which operates the following Twitter account: @WiFi_NY


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              (7)      TheChinzAge, which operates the following Twitter account: @ChintzAge.

              (8)      Bobby    Tanzilo,    who     operates    the   following   Twitter   account:

                    @BobbyOnMKEcom.

              (9)      Save Gansevoort, which operates the following Twitter account:

                    @SaveGansevoort.

              (10)     Steve   Sinclair,    who     operates   the    following   Twitter   account:

                    @SteveSinclairNY.

              (11)     City Council Speaker Corey Johnson, who operates the following Twitter

                    account: @CoreyinNYC.

       359.   Additionally, the 2018 Newsletter was also viewed by the following third parties

who “retweeted” the post on Twitter as of January 23, 2018:

              (1)      CNU NYC, which operates the following Twitter account: @CNU_NYC.

              (2)      Whitakertracy,      who     operates    the    following   Twitter   account:

                    @Whitakertracy1.

              (3)      Chess   Forum,      which    operates    the   following   Twitter   account:

                    @chessforumnyc.

              (4)      Susan DeMark, who operates the following Twitter account: @scdemark.

              (5)      Peter Feld, who operates the following Twitter account: @peterfeld.

              (6)      Inwood Preservation, which operates the following Twitter account:

                    @InwoodPres.

              (7)      Nicole Beauchamp, who operates the following Twitter account:

                    @NikkiBeauchamp.




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               (8)      TheChintzAge,       which    operates   the   following   Twitter   account:

                     @ChintzAge.

               (9)      Save Gansevoort, which operates the following Twitter account:

                     @SaveGansevoort.

               (10)     Steve   Sinclair,    who     operates   the   following   Twitter   account:

                     @SteveSinclairNY.

       360.    Furthermore, the 2018 Newsletter and the Statements were read by a local in the

community who then forwarded photos of the online PDF to Plaintiff Singer.

       361.    The 2018 Newsletter remains accessible to an audience limited only by the breadth

of the Internet, as it remains posted prominently on Twitter and as a PDF online.

       362.    Defendants Berman and GVSHP made the Statements without justification or

privilege.

       363.    As a result of Defendant Berman and GVSHP’s Statements, the Plaintiffs have

sustained, and will continue to sustain, irreparable damage to their business, good name, and

reputation in an amount to be determined at trial.

                                        PRAYER FOR RELIEF

       WHEREFORE, upon all of the facts and circumstances herein alleged, Plaintiffs

respectfully request that this Court:

       A.      Grant judgment against the Defendants on each and every cause of action as alleged

               and delineated herein;

       B.      Invalidate the unconstitutional condition currently in place;



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      C.     Grant compensatory damages against the Defendants in the amount to be

             determined at trial;

      D.     Grant punitive damages against the Defendants in the amount to be determined at

             trial;

      E.     Grant injunctive relief that will enjoin the Defendants from violating the Plaintiffs’

             Constitutional and state-law rights;

      F.     Grant any other damages permitted to be recovered by law pursuant to the above

             causes of action;

      G.     Grant an award of reasonable attorney’s fees and costs expended in connection with

             the prosecution of this action pursuant to 42 U.S.C. § 1988; and

      H.     Grant any such further relief as this Court may deem just, proper, and equitable.

                                        JURY DEMAND

      Plaintiffs hereby demand a trial by jury as to all issues so triable.

Dated: Garden City, New York
       January 24, 2018
                                             GERSTMAN SCHWARTZ & MALITO, LLP



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